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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


    KAIST IP US LLC,

              Plaintiff,

              v.

    SAMSUNG ELECTRONICS CO., LTD.;
                                                     Civil No.: 2:16-cv-01314-JRG-RSP
    SAMSUNG ELECTRONICS AMERICA,
    INC.; SAMSUNG SEMICONDUCTOR,
                                                     JURY TRIAL DEMANDED
    INC.; SAMSUNG AUSTIN
    SEMICONDUCTOR LLC;
    GLOBALFOUNDRIES, INC.; AND
    GLOBALFOUNDRIES U.S. INC.; and
    QUALCOMM INC.,

              Defendants.



                            DISCLOSURE OF
   ASSERTED CLAIMS AND INFRINGEMENT CONTENTIONS BY KAIST IP US LLC

          Pursuant to Patent Local Rules 3-1 and 3-2, Plaintiff KAIST IP US LLC (“KAIST IP

  US”) hereby submits its disclosure of asserted claims and infringement contentions, including by

  reference the entirety of attached appendices, exhibits, and accompanying document production,

  against Defendants Samsung Electronics Co., Ltd. (“SEC”), Samsung Electronics America, Inc.

  (“SEA”), Samsung Semiconductor, Inc. (“SSI”), and Samsung Austin Semiconductor LLC

  (“SAS”) (collectively, “Samsung”); Defendants GlobalFoundries, Inc. (“GloFo Inc.”) and

  GlobalFoundries US, Inc. (“GloFo US”) (collectively, “GloFo”); and Qualcomm Inc.

  (“Qualcomm”) (all the defendants together, “Defendants”).

          KAIST IP US makes these disclosures based upon presently known and publicly

  available information. KAIST IP US has not completed its preparation of this matter for trial


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  and has not received discovery from Defendants, particularly discovery of Defendants’

  confidential, proprietary, or non-public information and documents that describe the accused

  instrumentalities, or discovery on Defendants’ past, discontinued, or other instrumentalities

  reasonably similar to the presently accused instrumentalities. Because KAIST IP US’s

  investigations are ongoing and discovery is not yet complete, KAIST IP US reserves the right to

  amend or supplement its asserted claims and infringement contentions, including the

  identification of claims infringed by Defendants and of the accused instrumentalities.

  Additionally, KAIST IP US reserves the right to amend and further supplement its infringement

  contentions as any additional instrumentalities come into existence or become known.

  I.      Disclosures

          A.      Asserted Claims

          Pursuant to P. R. 3-1(a), KAIST IP US presently identifies the following Asserted Claims

  of U.S. Patent No. 6,885,055 (“the ’055 Patent”):

          •    Independent claim 1 and its dependent claims 2-6, 11-12, and 14-17;

          •    Independent claim 7 and its dependent claims 9-10 and 19;

          •    Independent claim 13.

          Additional claims may be infringed. After reasonable investigation, KAIST believes that

  this determination cannot be made without access to non-public information held by the

  Defendants.

          B.      Accused Instrumentalities

          Pursuant to P. R. 3-1(b), KAIST IP US presently identifies the following accused

  instrumentalities that infringe the Asserted Claims:

          Defendant Samsung makes, uses, sells, offers to sell in, and/or imports into the United

  States semiconductor devices, processor chips incorporating such semiconductor devices, and/or

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  consumer products incorporating such processor chips that infringe Claims 1-7, 9-17, and 19 of

  the ’055 Patent (“Samsung Infringing Instrumentalities”).

          Samsung Infringing Instrumentalities include, but are not limited to, Defendant

  Samsung’s bulk FinFET technologies, such as its 14 nm bulk FinFET technologies (“Samsung

  FinFET Technology”); processor chips that are manufactured using Samsung FinFET

  Technology (“Samsung Chips”), such as Defendant Samsung’s Exynos series of chips, e.g.,

  Exynos 7 Octa 7420, Exynos 7 Quad 7570, Exynos 7 Octa 7870, Exynos 8 Octa 8890, and

  Exynos 8895, and Defendant Qualcomm’s Snapdragon series of chips, e.g., 820 and 821 chips

  (“Qualcomm Chips”); and Defendant Samsung’s Galaxy line of mobile devices, e.g., Galaxy S6,

  Galaxy S6 Edge, Galaxy S6 Active, Galaxy S6 Edge+, Galaxy Note 5, Galaxy Tab A 10.1,

  Galaxy J7, Galaxy S7, and Galaxy S7 Edge (“Samsung Products”).

          Defendant GloFo makes, uses, sells, offers to sell in, and/or imports into the United

  States semiconductor devices and/or processor chips incorporating such semiconductor devices

  that infringe Claims 1-7, 9-17, and 19 of the ’055 Patent (“GloFo Infringing Instrumentalities”).

          GloFo Infringing Instrumentalities include, but are not limited to, Defendant GloFo’s

  bulk FinFET technologies, such as its 14 nm bulk FinFET technologies, including but not limited

  to the FX-14 ASIC system (“GloFo FinFET Technology”) and processor chips that are

  manufactured using GloFo FinFET Technology (“GloFo Chips”).

          Defendant Qualcomm makes, uses, sells, offers to sell in, and/or imports into the United

  States processor chips incorporating Samsung and/or GloFo Chips and/or consumer products

  incorporating such processor chips that infringe Claims 1-7, 9-17, and 19 of the ’055 Patent

  (“Qualcomm Infringing Instrumentalities”).

          Qualcomm Infringing Instrumentalities include, but are not limited to, processor chips



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  that are manufactured using Samsung and/or GloFo FinFET Technology, such as Qualcomm

  Chips.

           Each Defendant has committed and continues to commit acts of direct infringement by

  making, using, selling, offering to sell, and/or importing Samsung, GloFo, and/or Qualcomm

  Infringing Instrumentalities, respectively, including but not limited to Samsung FinFET

  Technology, Chips, and Products; GloFo FinFET Technology and Chips; and Qualcomm Chips

  (collectively, the “Accused Instrumentalities”).

           A representative example of an Accused Instrumentality appears in the Exynos 7 Octa

  7420 processor. The Exynos 7 Octa 7420 processor is a 64-bit octa-core processor that is

  fabricated using Samsung FinFET Technology. This particular processor is incorporated into the

  Samsung Galaxy S6 smartphone, among other products. Upon information and belief, the GloFo

  FinFET Technology is the same or substantially similar to the Samsung FinFET Technology, and

  the Samsung, GloFo, and Qualcomm Chips utilize the same or substantially similar FinFET

  architecture as in the Exynos 7420 processors. As such, the claim limitations in these

  contentions will be compared to the Exynos 7 Octa 7420 chip found in the Samsung Galaxy S6

  smartphone. It is to be understood, however, that the comparisons made in these contentions are

  representative of, and apply to, all of the Samsung Chips, GloFo Chips, and Qualcomm Chips in

  all of the Accused Instrumentalities.

           For the reasons defined and described in more detail in Appendix 1, the Accused

  Instrumentalities infringe the Asserted Claims. KAIST IP US believes that the Accused

  Instrumentalities may be provided in a variety of configurations or combinations. Through

  reasonable investigation of presently known and publicly available information, including

  Defendants’ own public Websites, disclosures, advertisements, patents and patent applications,



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  KAIST IP US has identified what it believes to be the current configurations or combinations of

  the Accused Instrumentalities. However, KAIST IP US anticipates that the full scope of

  configurations or combinations of the Accused Instrumentalities will be found through

  subsequent discovery from Defendants and third parties.

          C.     Claim Charts

          Pursuant to P. R. 3-1(c), KAIST IP US provides a claim chart, which is incorporated by

  reference as if fully set forth herein, in Appendix 1. The attached claim chart is exemplary and

  not limiting, and addresses the Asserted Claims and Accused Instrumentalities without the

  benefit of full discovery. Any citations included in the claim chart are exemplary only, and

  should not be construed as limiting.

          In the attached claim chart, for convenience, KAIST IP US has subdivided each Asserted

  Claim to better explicate where each claim element or step may be found within the Accused

  Instrumentalities. The subdivisions in the attached claim chart should not be taken as an

  indication of the boundaries of claim elements or steps with respect to the doctrine of equivalents

  or any other issue. Furthermore, the Accused Instrumentalities may infringe the Asserted Claims

  in multiple ways. KAIST IP US reserves the right to provide alternate claim mapping, and to

  amend or supplement the claim chart.

          D.     Contentions

          Pursuant to 35 U.S.C. §§ 271(a), (b), and/or (c), KAIST IP US contends that Defendants

  directly infringe the Asserted Claims through the import, manufacture, use, sale, and/or offer for

  sale of the Accused Instrumentalities in this Judicial District, the state of Texas, and throughout

  various locations in the United States.

          KAIST IP US also contends that Defendants indirectly infringe by actively, knowingly,

  and/or intentionally inducing or contributing to the direct infringement of the Asserted Claims,

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  literally, under the doctrine of equivalents, and/or jointly, in the United States, the State of Texas,

  and the Eastern District of Texas. Such indirect infringement includes the Defendants’

  inducement through affirmative acts, each other Defendant and third parties, and the customers

  of each other defendant and third parties, such as fab-less chip designers and end-consumers of

  the Accused Instrumentalities, to directly infringe the ’055 Patent by making, using, selling,

  and/or importing the Accused Instrumentalities.

          These affirmative acts include but are not limited to any one or a combination of: (i)

  designing infringing processors for manufacture according to specification; (ii) collaborating on

  and/or funding the development of the infringing processors and/or technology; (iii) soliciting

  and sourcing the manufacture of infringing processors; (iv) licensing and transferring technology

  and know-how to enable the manufacture of infringing processors; (v) enabling and encouraging

  the use, sale, or importation of infringing processors; (v) enabling and encouraging the use, sale,

  or importation of infringing processors by its customers; and (vi) advertising the infringing

  processors and/or technology.

          Such indirect infringement also includes the Defendants’ contributing to the direct

  infringement of the ’055 Patent by each other defendant and third parties, and the customers of

  each other Defendant and third parties, such as fab-less chip designers and end-consumers of the

  Accused Instrumentalities, by making or selling parts, components, or intermediate products to

  each other defendant or third parties that, once assembled, infringe upon the ’055 Patent by the

  sale and/or use of the assembled processors or devices. The Accused Instrumentalities are not

  staple articles of commerce because they have no substantial non-infringing uses, and embody

  the heart of the patented apparatus. Any alleged non-infringing uses would be unusual,

  impractical, occasional, aberrant, or experimental.



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          Based on publicly available information, and without the benefit of discovery from

  Defendants, KAIST IP US presently contends pursuant to P. R. 3-1(d) that each element, step,

  and limitation of each Asserted Claim is literally present, met, or implemented in and/or by the

  Accused Instrumentalities. Should Defendants contend that any element, step, or limitation is

  literally absent in an Accused Instrumentality, KAIST IP US contends and reserves the right to

  prove that at least the equivalent of the allegedly missing element, step, or limitation is

  nevertheless present in the Accused Instrumentality, and that the Accused Instrumentality thus at

  least infringes under the doctrine of equivalents.

          The claim chart provided by KAIST IP US in Appendix 1 applies to KAIST IP US’s

  claims for direct and indirect infringement.

          E.       Priority Dates

          Pursuant to P. R. 3-1(e), KAIST IP US contends that the claims of the ’055 Patent are

  entitled to a priority date of at least as early as January 2000 and no later than January 30, 2002.

  Since KAIST IP US’s internal investigation regarding the conception, diligence, and reduction to

  practice of the ’055 Patent is ongoing, KAIST IP US reserves the right to allege an earlier

  priority date.

          F.       Plaintiff’s Instrumentalities Practicing the Claimed Invention

          KAIST IP US is not asserting any products that practice, incorporate, or reflect the

  Asserted Claims of the ’055 Patent.

  II.     Document Production

          KAIST IP US produces herewith documents bearing the identification numbers

  KAIST000001-KAIST000276.

          A.       Documents Related to Third Party Disclosures

          Pursuant to P. R. 3-2(a), KAIST IP US identifies documents bearing identification

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  numbers KAIST000001-KAIST000054.

          B.     Documents Related to Conception and Reduction to Practice

          Pursuant to P. R. 3-2(b), KAIST IP US identifies documents bearing identification

  numbers KAIST000001-KAIST000054.

          C.     File History

          Pursuant to P. R. 3-2(c), KAIST IP US identifies documents bearing identification

  numbers KAIST000055-KAIST000276.



   Date: March 13, 2017                          Respectfully submitted,

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                                                     APPENDIX 1
                                     Infringement Chart for U.S. Patent No. 6,885,055


            Claim 1                                                Accused Instrumentalities


A double-gate FinFET device,   The Accused Instrumentality comprises a double-gate FinFET device.
comprising:
                               For example, Defendants Samsung and GloFo provide the following graphic. 1




                               “In FinFET transistor [sic], the gate is placed on multiple sides of each source and drain,
                               controlling the current leakage more effectively.” 2

                               According to Defendant Samsung: “This platform . . . allows us to manufacture the highest
                               performing, most energy efficient chips required for tomorrow’s computing needs. For the first
                               time, production with the most advanced 14nm FinFET technology will be available at multiple
                               locations in the U.S. and Korea to meet the growing supply demands of our customers. As a result
                               of this strategic collaboration, true design compatibility will reside in Korea, Texas and New
                               York.” 3




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                                                 APPENDIX 1
                                 Infringement Chart for U.S. Patent No. 6,885,055

                           “In leading mass production of advanced FinFET logic process, Samsung announced in Q1 of 2015
                           the launch of the Exynos 7 Octa processor built on the industry’s first 14nm LPE (Low-Power
                           Early) process.” 4 On January 14, 2016, Defendant Samsung announced, “mass production of
                           advanced logic chips utilizing its 14nm LPP (Low-Power Plus) process, the 2nd generation of the
                           company’s 14nm FinFET process technology.” 5

                           “With the new 14nm LPP process, Samsung continues to demonstrate its process technology
                           leadership, and unparalleled performance and power efficiency for its Exynos 8 Octa processor and
                           its many foundry customers including Qualcomm Technologies, Inc. The Qualcomm®
                           Snapdragon™ 820 processor uses Samsung’s new 14nm LPP process and is expected to be in
                           devices in the first half of [2016].” 6

                           According to Charlie Bae, Executive Vice President of Sales & Marketing, System LSI Business,
                           Samsung Electronics: “We are pleased to start production of our industry-leading, 2nd generation
                           14nm FinFET process technology that delivers the highest level of performance and power
                           efficiency. Samsung will continue to offer derivative processes of its advanced 14nm FinFET
                           technology to maintain our technology leadership.” 7

                           The Accused Instrumentality incorporates a “three-dimensional (3D) FinFET structure on
                           transistors [that] enables significant performance boost and low power consumption. Samsung’s
                           new 14nm LPP process delivers up to 15 percent higher speed and 15 percent less power
                           consumption over the previous 14nm LPE process through improvements in transistor structure
                           and process optimization. In addition, use of fully-depleted FinFET transistors brings enhanced
                           manufacturing capabilities to overcome scaling limitations.” 8 According to Defendant Samsung,
                           “[t]he advantages to the 14nm FinFET platform is a result of utilizing 3D FinFET transistors to
                           enable a 35% savings in power consumption compared to 20nm planar technology without
                           sacrificing performance. It also can be tuned for high-performance wired applications for a 20%
                           boost in output at constant power.” 9

                           For example, according to Defendant Samsung, “[w]ith 14nm FinFET process technology, Exynos
                           7870 consumes up to 30% less power than its predecessor built on 28nm HKMG process at the




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                                                 APPENDIX 1
                                 Infringement Chart for U.S. Patent No. 6,885,055

                           same performance level. With 14nm FinFET process, octa-core 64-bit CPUs offer a perfect
                           balance between performance and power efficiency.” 10

                           The following image shows an example of the Accused Instrumentality. 11




                           “The Exynos 7420 is Samsung’s first 14 nm bulk finFET based application processor that is
                           adopted in the Samsung’s Galaxy S6 smartphone. The Exynos 7420 is a 64 bit octa-core processor
                           with ARM big.LITTLE architecture which contains 2.1 GHz quad core Cortex A57 and 1.5 GHz
                           quad core Cortex A53 CPUs, ARM Mali-T760MP8 GPU, and LPDDR4 as a memory interface.

                           The Exynos 7420 is fabricated by a 14 nm process technology adopting finFET architecture with
                           12 levels of metallization (10 Cu, 1 Al, and 1 W), and a high-k dielectric replacement metal gate
                           (HKMG) process on a bulk silicon substrate. The transistor’s channel, source and drain regions are
                           formed on a silicon fin protruding from the substrate, with the gate wrapped around three sides of
                           the fin. The isolation trenches are likely formed using a two different depth etch process to




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                                                 APPENDIX 1
                                 Infringement Chart for U.S. Patent No. 6,885,055

                           facilitate the better isolation between adjacent finFET devices (set of fins) with deeper isolation
                           trenches.

                           A high-k gate dielectric (HfO) with a SiO2 interfacial layer are used as a gate dielectric for PMOS
                           and NMOS transistors that use different metal gates. PMOS metal gate stacks consist of AlTiN
                           work function adjustment layer, AlTiC, metal oxide (likely AlTiO), TiN capping layer and W gate
                           filling metal. W is not filled in the narrow space of gate trenches in standard logic PMOS
                           transistors including SRAM PMOS pull-up transistors. AlTiN PMOS work function layer is likely
                           removed from NMOS transistors prior to depositing NMOS work function adjustment layer
                           (AlTiC). NMOS metal gate stacks start with remnant AlTiN PMOS work function layer, AlTiC
                           NMOS work function layer, metal oxide (likely AlTiO), TiN capping layer and W gate filling
                           metal.

                           The finFET channel is oriented to the <110> directions with minimum gate length 27 nm for
                           PMOS transistor and 30 nm for NMOS transistor in logic region. Embedded SiGe in PMOS
                           source/drain regions apply compressive strain to transistor P-channel to increase holes’ mobility
                           and improve transistor performance.

                           Lower seven levels of copper metallization employ similar dense metal line with a fine pitch
                           indicating 1x routing and minimum metal pitch in 1x routing levels is observed at metal 2 level as
                           67 nm of pitch.

                           The device features a 78 nm minimum observed contacted gate pitch, 49 nm minimum observed
                           fin pitch and 0.08 μm2 minimum observed 6T SRAM cell area.” 12

                           “The Samsung Exynos 7420 application processor die is fabricated using a 12 metal layer
                           including metal 0, replacement metal gate, 14 nm bulk finFET CMOS process. The device features
                           a lightly doped p-type bulk silicon substrate having a <110> channel orientation, hafnium
                           oxide/silicon oxide gate dielectric, dual band edge work function metal gates, tungsten contacts and
                           metal 0, 10 levels of copper metallization, aluminum top metal (metal 11) redistribution layer and
                           carbon-doped low-k dielectric (SiOC) inter-level dielectrics. A dual damascene copper process is
                           used for all interconnect levels except for metal 0 (W) and metal 11 (Al).” 13




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                                                    APPENDIX 1
                                    Infringement Chart for U.S. Patent No. 6,885,055

                              In April 2014, Defendants Samsung and GloFo announced “a new strategic collaboration to deliver
                              global capacity for 14 nanometer (nm) FinFET process technology. For the first time, the
                              industry’s most advanced 14nm FinFET technology will be available at both Samsung and
                              GLOBALFOUNDRIES, giving customers the assurance of supply that can only come from true
                              design compatibility at multiple sources across the globe. The new collaboration will leverage the
                              companies’ worldwide leading-edge semiconductor manufacturing capabilities, with volume
                              production at Samsung’s fabs in Hwaseong, Korea and Austin, Texas, as well as
                              GLOBALFOUNDRIES’ fab in Saratoga, New York.” Upon information and belief, GloFo and
                              Qualcomm Chips utilize the same or substantially similar FinFET architecture as in the Exynos
                              7420 processors. “Now, thanks to a strategic collaboration with GLOBALFOUNDRIES, 14nm
                              FinFET production capabilities will soon reach worldwide scale.” 14


a bulk silicon substrate;     The Accused Instrumentality comprises a bulk silicon substrate.

                              Defendant Samsung’s Exynos 7420 SoC “is fabricated by a 14 nm process technology adopting
                              finFET architecture with 12 levels of metallization (10 Cu, 1 Al, and 1 W), and a high-k dielectric
                              replacement metal gate (HKMG) process on a bulk silicon substrate. The transistor’s channel,
                              source and drain regions are formed on a silicon fin protruding from the substrate, with the gate
                              wrapped around three sides of the fin. The isolation trenches are likely formed using a two
                              different depth etch process to facilitate the better isolation between adjacent finFET devices (set of
                              fins) with deeper isolation trenches.” 15




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                                                         APPENDIX 1
                                         Infringement Chart for U.S. Patent No. 6,885,055

                                   For example, the bulk silicon substrate is illustrated in the graphic below (left) 16 and shown in the
                                   image below (right). 17




a Fin active region which is a     The Accused Instrumentality comprises a wall-shape single crystalline silicon Fin active region on
wall-shape single crystalline      a surface of the bulk silicon substrate and connected to the bulk silicon substrate.
silicon on a surface of the bulk
silicon substrate and connected    The Accused Instrumentality includes a Fin active region, on which the transistor’s channel,
to said bulk silicon substrate;    source, and drain are located, formed on the bulk silicon substrate. “The Exynos 7420 is fabricated
                                   by a 14 nm process technology adopting finFET architecture with 12 levels of metallization (10
                                   Cu, 1 Al, and 1 W), and a high-k dielectric replacement metal gate (HKMG) process on a bulk
                                   silicon substrate. The transistor’s channel, source and drain regions are formed on a silicon fin
                                   protruding from the substrate, with the gate wrapped around three sides of the fin. The isolation
                                   trenches are likely formed using a two different depth etch process to facilitate the better isolation
                                   between adjacent finFET devices (set of fins) with deeper isolation trenches.” 18




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                                                 APPENDIX 1
                                 Infringement Chart for U.S. Patent No. 6,885,055

                           The Fin active region of the infringing device is comprised of single crystalline silicon. “The
                           Samsung Exynos 7420 application processor is fabricated using a lightly doped bulk P-type
                           monocrystalline Si substrate.” 19

                           For example, these features are illustrated in the graphic below. 20




                           They are also shown in the images below. 21




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                                                 APPENDIX 1
                                 Infringement Chart for U.S. Patent No. 6,885,055




                           The Fin active regions of the infringing devices are wall-shaped. “A two-step etch process is used
                           to define the fins and STIs. The fins are patterned by a 1st shallow trench isolation etch. A second
                           etch is used to form the deep STI trenches between adjacent fin structures. The fins are likely
                           formed using a sacrificial pad mask with a double patterning process (likely SADP, self-aligned
                           double patterning).” 22




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                                                       APPENDIX 1
                                       Infringement Chart for U.S. Patent No. 6,885,055




                                The Fin active region is wall-shaped, monocrystalline silicon, and connected to the bulk silicon
                                substrate.


a second oxide layer which is    The Accused Instrumentality comprises a second oxide layer, which is formed up to a certain
formed up to a certain height of height of the Fin active region, from the surface of bulk silicon substrate.
the Fin active region from the
surface of bulk silicon
substrate;




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                                                 APPENDIX 1
                                 Infringement Chart for U.S. Patent No. 6,885,055

                           For example, the second oxide layer (i.e., Field Oxide) feature is illustrated in the graphic below. 23




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                                                 APPENDIX 1
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                           It also shown in the images below. 24




                           A second oxide layer is formed up to a desired height on the Fin active regions, on which a gate is
                           formed. “The Samsung Exynos 7420 uses shallow trench isolation (STI) to provide isolation
                           between the fin structures (devices) on the die and the trenches are filled with a single oxide
                           (SiO2). . . . After completion of deeper STI formation, the trenches are filled with oxide (SiO2) and
                           CMP planarized. The STI oxide fill is then etched back to expose the fins.” 25

                           The second oxide layer is formed up from the surface of the bulk silicon substrate to a certain
                           height of the Fin active region.




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                                                        APPENDIX 1
                                        Infringement Chart for U.S. Patent No. 6,885,055


a gate oxide layer which is       The Accused Instrumentality comprises a gate oxide layer, which is formed on both side-walls of
formed on both side-walls of      the Fin active region, protruded from said second oxide layer.
the Fin active region protruded
from said second oxide layer;     A high-κ dielectric is formed on the side-walls of the Fin active region, creating the gate oxide
                                  layer. “A high-k dielectric including thin interface oxide separates the fin from the metal gate on
                                  each of the three sides of the fin. The gate dielectric consists of ~0.8 nm interface dielectric SiO2
                                  and ~1.2 nm high-k dielectric HfO. The I/O transistor is observed to have a thicker interface
                                  dielectric SiO2 as compared to the standard logic transistor. The metal gates are constrained to be
                                  parallel in one direction (across the fin direction) and have a contacted gate pitch about 78 nm and
                                  minimum gate length of 27 nm for PMOS and 30 nm for NMOS in standard logic area.” 26

                                  For example, the gate oxide layer is illustrated in the graphic below 27




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                                 It is also shown in the images below. 28




                                 “After removing sacrificial poly-Si gate, the gate dielectric layer is formed along the sidewall and a
                                 bottom surface of gate trench. The gate dielectric includes interface oxide (SiO2) and high-k
                                 dielectric (HfO) likely grown by ALD process.” 29

                                 The gate oxide layer is formed on both side-walls of the Fin active region.


a first oxide layer which is     The Accused Instrumentality comprises a first oxide layer, which is formed on the upper surface of
formed on the upper surface of   the Fin active region, with a thickness greater or equal to that of the gate oxide.
said Fin active region with a
thickness greater or equal to    A first oxide layer is formed on the upper surface of the Fin active region from a high-κ dielectric.
that of the gate oxide;          “A high-k dielectric including thin interface oxide separates the fin from the metal gate on each of
                                 the three sides of the fin. . . . The I/O transistor is observed to have a thicker interface dielectric
                                 SiO2 as compared to the standard logic transistor.” 30



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                                 For example, the first oxide layer, shown in the image below, has a thickness greater than or equal
                                 to the thickness of the gate oxide. 31




a gate which is formed on said   The Accused Instrumentality comprises a gate, which is formed on the first and second oxide
first and second oxide layer;    layers.

                                 A metal gate wraps around the sides and top of the Fin active region. “The Exynos 7420 is
                                 fabricated by a 14 nm process technology adopting finFET architecture with . . . a high-k dielectric
                                 replacement metal gate (HKMG) process on a bulk silicon substrate. The transistor’s channel,
                                 source and drain regions are formed on a silicon fin protruding from the substrate, with the gate
                                 wrapped around three sides of the fin.” 32

                                 “The Samsung Exynos 7420 application processer is fabricated using Samsung’s 1st generation
                                 finFET process technology in which a gate is wrapped around a thin three-dimensional silicon fin.
                                 The device employs multi-layered metal gates using a gate last process (RMG-replacement metal
                                 gate), epitaxial Si in the source/drains (S/D) of the NMOS finFETs and epitaxial silicon


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                           germanium (e-SiGe) in the PMOS S/Ds. Dual work function metal gates are used for PMOS and
                           NMOS finFETs. A high-k dielectric including thin interface oxide separates the fin from the metal
                           gate on each of the three sides of the fin. The gate dielectric consists of ~0.8 nm interface
                           dielectric SiO2 and ~1.2 nm high-k dielectric HfO. The I/O transistor is observed to have a thicker
                           interface dielectric SiO2 as compared to the standard logic transistor. The metal gates are
                           constrained to be parallel in one direction (across the fin direction) and have a contacted gate pitch
                           about 78 nm and minimum gate length of 27 nm for PMOS and 30 nm for NMOS in standard logic
                           area.” 33

                           For example, the gate is illustrated in the graphic below. 34




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                                  It is also shown in the images below. 35




                                  The gate is formed on the first and second oxide layers.


a source/drain region which is    The Accused Instrumentality comprises a source/drain region formed on both sides of the Fin
formed on both sides of the Fin   active region, except where said gate overlaps with the Fin active region.
active region except where said
gate overlaps with the Fin        “The transistor’s channel, source and drain regions are formed on a silicon fin protruding from the
active region; and                substrate . . . .” 36 “Source/drain regions of NMOS finFETs are anisotropically etched to form
                                  recess in the fin and embedded Si (eSi) is formed by selective epitaxial growth. The shape of eSi is
                                  more rounded compared to the diamond shaped eSiGe in PMOS source/drain regions.” 37

                                  For example, the source/drain region is depicted on both sides of the Fin active region, except
                                  where the gate overlaps the Fin active region, both in the graphic below (left) 38 and in the image
                                  below (right). 39



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a contact region and a metal     The Accused Instrumentality comprises a contact region and a metal layer, which are formed at
layer which are formed at said   said source/drain and gate contact region.
source/drain and gate contact
region,                          For example, the Accused Instrumentality “is fabricated using a 12 metal layer including metal 0,
                                 replacement metal gate, 14 nm bulk finFET CMOS process. The device features a lightly doped p-
                                 type bulk silicon substrate having a <110> channel orientation, hafnium oxide/silicon oxide gate
                                 dielectric, dual band edge work function metal gates, tungsten contacts and metal 0, 10 levels of
                                 copper metallization, aluminum top metal (metal 11) redistribution layer and carbon-doped low-k
                                 dielectric (SiOC) inter-level dielectrics. A dual damascene copper process is used for all
                                 interconnect levels except for metal 0 (W) and metal 11 (Al).” 40




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                                    As can be seen in the images below, the Accused Instrumentality includes contact regions and
                                    metal layers, which are formed at various source/drain and gate contact regions. 41




wherein the thickness of said       In the Accused Instrumentality, the thickness of the gate oxide layer is between 0.5 nm and 10 nm,
gate oxide layer is between 0.5     and the thickness of the first oxidation layer is between 0.5 nm and 200 nm.
nm and 10 nm, and the
thickness of said first oxidation   For example, in the Accused Instrumentality, “[a] high-k dielectric including thin interface oxide
layer is between 0.5 nm and         separates the fin from the metal gate on each of the three sides of the fin. The gate dielectric
200 nm.                             consists of ~0.8 nm interface dielectric SiO2 and ~1.2 nm high-k dielectric HfO.” 42




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                           As shown in the image below, the gate oxide layer and first oxidation layer thicknesses employed
                           in the Accused Instrumentality are between 0.5 nm and 10 nm, and between 0.5 nm and 200 nm,
                           respectively. 43




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            Claim 2                                                 Accused Instrumentalities


The device as claimed in claim The Accused Instrumentality comprises a FinFET device, as claimed in claim 1, in which the Fin
1, wherein the width of said Fin active region has a width that lies in a range between 4 nm and 100 nm.
active region lies in a range
between 4 nm and 100 nm.         For example, as shown below, the width of the Fin active region lies in a range between 4 nm and
                                 100 nm. 44




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            Claim 3                                                   Accused Instrumentalities


The device as claimed in claim   The Accused Instrumentality comprises a FinFET device, as claimed in claim 1, in which the Fin
1, wherein the height of said    active region has a height from the surface of the bulk silicon substrate that lies in a range between
Fin active region from the       10 nm and 1000 nm.
surface of said bulk silicon
substrate lies in a range        For example, as shown below, the height of the Fin active region from the surface of the bulk
between 10 nm and 1000 nm.       silicon substrate lies in a range between 10 nm and 1000 nm. 45




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            Claim 4                                                 Accused Instrumentalities


The device as claimed in claim   The Accused Instrumentality comprises a FinFET device, as claimed in claim 3, in which the Fin
3, wherein the height of said    active region has a height from the surface of the second oxide layer is between 5 nm and 500 nm.
Fin active region from the
surface of said second oxide     For example, as shown below, the height of the Fin active region from the surface of the second
layer is between 5 nm and 300    oxide layer is between 5 nm and 300 nm. 46
nm.




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            Claim 5                                                Accused Instrumentalities


The device as claimed in claim   The Accused Instrumentality comprises a FinFET device, as claimed in claim 1, in which thickness
1, wherein the parasitic         of the second oxidation layer is selected to be between 20 nm and 800 nm, reducing the parasitic
capacitance between said gate    capacitance between the gate and bulk silicon substrate.
and bulk silicon substrate is
reduced by selecting the         For example, the thickness of the second oxidation layer shown in the image below is between 20
thickness of said second         nm and 800 nm. 47
oxidation layer to be between
20 nm and 800 nm.




                                 The design in the Samsung FinFET Technology reduces the parasitic capacitance between the gate
                                 and bulk silicon substrate. 48




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            Claim 6                                                      Accused Instrumentalities


The device as claimed in claim      The Accused Instrumentality comprises a FinFET device, as claimed in claim 1, in which the size
1, wherein the contact              of the region in contact with the metal layer is selected to be greater than the width of the Fin active
resistance is reduced by            region and/or the length of the gate, reducing the contact resistance.
selecting the size of a contact
region which is in contact with     For example, the size of a contact region which is in contact with the metal layer (below left) is
said metal layer to be greater      greater than the width of the Fin active region (below right). 49 The design in the Samsung FinFET
than the width of said Fin active   Technology reduces the contact resistance.
region and/or the length of said
gate.




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            Claim 7                                                   Accused Instrumentalities


A double-gate FinFET device,       See Claim 1, with respect to same preamble, page 1.
comprising:


a bulk silicon substrate;          See Claim 1, with respect to same element/limitation, page 5.


a Fin active region which is a     See Claim 1, with respect to same element/limitation, page 6.
wall-shape single crystalline
silicon on a surface of the bulk
silicon substrate and connected
to said bulk silicon substrate;


a second oxide layer which is    See Claim 1, with respect to same element/limitation, page 9.
formed up to a certain height of
the Fin active region from the
surface of bulk silicon
substrate;


a gate oxide layer which is        See Claim 1, with respect to same element/limitation, page 12.
formed on both side-walls of
the Fin active region protruded
from said second oxide layer;




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a first oxide layer which is     See Claim 1, with respect to same element/limitation, page 13.
formed on the upper surface of
said Fin active region with a
thickness greater or equal to
that of the gate oxide;


a gate which is formed on said   See Claim 1, with respect to same element/limitation, page 14.
first and second oxide layer;


a source/drain region which is See Claim 1, with respect to same element/limitation, page 16.
formed on both sides of the Fin
active region except where said
gate overlaps with the Fin
active region; and


a contact region and a metal     See Claim 1, with respect to same element/limitation, page 17.
layer which are formed at said
source/drain and gate contact
region,


wherein the contact resistance See Claim 6, with respect to same element/limitation, page 24.
is reduced by selecting the size
of a contact region which is in
contact with said metal layer to
be greater than the width of said
Fin active region, and/or the
length of said gate,




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and selective epitaxial layer is   The Accused Instrumentality comprises a selective epitaxial layer, grown on both sides of the Fin
grown on both sides                active region except where the Fin active region overlaps with the gate in a self-aligned manner to
(source/drain region) of the Fin   the gate, in order to reduce parasitic source/drain resistance.
active region except where said
Fin active region overlaps with    For example, the Accused Instrumentality “is fabricated using Samsung’s 1st generation finFET
the gate in a self-aligned         process technology in which a gate is wrapped around a thin three-dimensional silicon fin. The
manner to the gate, in order to    device employs multi-layered metal gates using a gate last process (RMG-replacement metal gate),
reduce parasitic source/drain      epitaxial Si in the source/drains (S/D) of the NMOS finFETs and epitaxial silicon germanium (e-
resistance.                        SiGe) in the PMOS S/Ds. Dual work function metal gates are used for PMOS and NMOS
                                   finFETs. A high-k dielectric including thin interface oxide separates the fin from the metal gate on
                                   each of the three sides of the fin. The gate dielectric consists of ~0.8 nm interface dielectric SiO2
                                   and ~1.2 nm high-k dielectric HfO. The I/O transistor is observed to have a thicker interface
                                   dielectric SiO2 as compared to the standard logic transistor. The metal gates are constrained to be
                                   parallel in one direction (across the fin direction) and have a contacted gate pitch about 78 nm and
                                   minimum gate length of 27 nm for PMOS and 30 nm for NMOS in standard logic area. . . . Strain
                                   silicon techniques for stressing the transistor channels are employed including SEG (selective
                                   epitaxial growth) layers in the S/Ds such as embedded SiGe (eSiGe) in PMOS and embedded Si
                                   (eSi) in NMOS. NMOS devices are assumed to have a tensile stress in the channels of the
                                   transistors while PMOS transistors are assumed to include a compressive stress in the channel.
                                   Transistors are aligned to the <110> substrate channel orientation. The sidewall structures of both
                                   PMOS and NMOS transistors are made of SiOCN deposited conformably and etched back
                                   anisotropically to make gate spacers.” 50




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                           The selective epitaxial layers in the Accused Instrumentality is shown below. 51




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                           The epitaxial layers are located on both sides (source/drain region) of the Fin active region except
                           where the Fin active region overlaps with the gate, in a self-aligned manner to the gate. 52 The use
                           of the selective epitaxial layers in this manner reduces parasitic source/drain resistance.




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            Claim 9                                                   Accused Instrumentalities


The device as claimed in claim     Upon information and belief, the Accused Instrumentality comprises a FinFET device, as claimed
7, wherein said selective          in claim 7, in which the selective epitaxial layer is grown by depositing a dielectric layer, and
epitaxial layer is grown by        anisotropically etching as much as the thickness of the dielectric layer and the height of the Fin
depositing a dielectric layer,     active region protruding above the second oxide layer, and taking the silicon which is exposed at
and anisotropically etching as     side-walls of the Fin active region except the vicinity where the Fin active region and gate meets
much as the thickness of the       and a poly-silicon gate, as seeds. Discovery is expected to uncover additional evidence of
dielectric layer and the height    infringement of claim 9 by the Accused Instrumentalities.
of the Fin active region
protruding above the second
oxide layer, and taking the
silicon which is exposed at
side-walls of the Fin active
region except the vicinity where
the Fin active region and gate
meets and a poly-silicon gate,
as seeds.




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            Claim 10                                                      Accused Instrumentalities


The device as in any one of          The Accused Instrumentality comprises a FinFET device, as claimed in claim 7, in which the
claims 7, wherein the material       material for the selective epitaxial layer is selected from the group consisting of a single crystalline
for said selective epitaxial layer   silicon, single crystalline SiGe, single crystalline Ge, poly-silicon, and poly SiGe.
is selected from the group
consisting of a single crystalline   For example, in the Accused Instrumentality, “[s]train silicon techniques for stressing the transistor
silicon, single crystalline SiGe,    channels are employed including SEG (selective epitaxial growth) layers in the S/Ds such as
single crystalline Ge, poly-         embedded SiGe (eSiGe) in PMOS and embedded Si (eSi) in NMOS.” 53
silicon, and poly SiGe.




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            Claim 11                                                  Accused Instrumentalities


The device as claimed in claim    Upon information and belief, the Accused Instrumentality comprises a FinFET device, as claimed
1, wherein said doping junction   in claim 1, in which the doping junction depth for the source/drain formed in said Fin active region,
depth for the source/drain        when the upper surface of the second oxide layer is taken as a reference level of 0 nm, is around 0
formed in said Fin active         nm to 50 nm above the reference level. Discovery is expected to uncover additional evidence of
region, when the upper surface    infringement of claim 11 by the Accused Instrumentalities.
of said second oxide layer is
taken as a reference level (0
nm), is around 0 nm to 50 nm
above the reference level.




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            Claim 12                                                  Accused Instrumentalities


The device as claimed in claim    Upon information and belief, the Accused Instrumentality comprises a FinFET device, as claimed
1, wherein said doping junction   in claim 1, in which the doping junction depth for the source/drain formed in the Fin active region,
depth for the source/drain        when the upper surface of said second oxide layer is taken as a reference level of 0 nm, is around 0
formed in said Fin active         nm to -50 nm below the reference level. Discovery is expected to uncover additional evidence of
region, when the upper surface    infringement of claim 12 by the Accused Instrumentalities.
of said second oxide layer is
taken as a reference level (0
nm), is around 0 nm to -50 nm
below the reference level.




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            Claim 13                                                  Accused Instrumentalities


A double-gate FinFET device,       See Claim 1, with respect to same preamble, page 1.
comprising:


a bulk silicon substrate;          See Claim 1, with respect to same element/limitation, page 5.


a Fin active region which is a     See Claim 1, with respect to same element/limitation, page 6.
wall-shape single crystalline
silicon on a surface of the bulk
silicon substrate and connected
to said bulk silicon substrate;


a second oxide layer which is    See Claim 1, with respect to same element/limitation, page 9.
formed up to a certain height of
the Fin active region from the
surface of bulk silicon
substrate;


a gate oxide layer which is        See Claim 1, with respect to same element/limitation, page 12.
formed on both side-walls of
the Fin active region protruded
from said second oxide layer;




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a first oxide layer which is      See Claim 1, with respect to same element/limitation, page 13.
formed on the upper surface of
said Fin active region with a
thickness greater or equal to
that of the gate oxide;


a gate which is formed on said    See Claim 1, with respect to same element/limitation, page 14.
first and second oxide layer;


a source/drain region which is See Claim 1, with respect to same element/limitation, page 16.
formed on both sides of the Fin
active region except where said
gate overlaps with the Fin
active region; and


a contact region and a metal      See Claim 1, with respect to same element/limitation, page 17.
layer which are formed at said
source/drain and gate contact
region,


wherein the resistance of said   In the Accused Instrumentality, the width of the Fin active region is enlarged as it approaches the
Fin active region is reduced by bulk silicon substrate within the oxidation layer, reducing the resistance of the Fin active region.
enlarging the width of said Fin
active region within the
oxidation layer as it approaches
the bulk silicon substrate.




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                           For example, in the Accused Instrumentality, this feature is shown in the image below. 54




                           The width of the Fin active region increases as it approaches the bulk silicon substrate within the
                           oxidation layer. The design in the Samsung FinFET Technology reduces the resistance of the Fin
                           active region.




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            Claim 14                                                   Accused Instrumentalities


The device as claimed in claim     The Accused Instrumentality comprises a FinFET device, as claimed in claim 1, in which the shape
1, wherein the shape of said Fin   of the Fin active region is a trapezoid where the width of the upper section is narrow and the lower
active region is a trapezoid       section is wide.
where the width of the upper
section is narrow and the lower    For example, the width of the Fin active region shown in the image below is narrow in the upper
section is wide.                   section and wide in the lower section, in a trapezoidal shape (see below). 55




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            Claim 15                                                 Accused Instrumentalities


The device as claimed in claim    The Accused Instrumentality comprises a FinFET device, as claimed in claim 1, in which the top
1, wherein the two top corners    corners of the Fin active region are chamfered through oxidation and etching and/or annealing
of said Fin active region are     process in a hydrogen atmosphere. 56
chamfered through an oxidation
and etching, or (and) annealing   For example, the two top corners of the Fin active region shown in the Accused Instrumentality are
process in a hydrogen             “rounded and thinned,” as shown below. 57
atmosphere.




                                  “Rounding the fins improves transistor performance by reducing the probability of TDDB (time
                                  dependent dielectric breakdown) due to sharp corners and increased electric fields. Thinned fin
                                  might provide better electrostatic control from the metal gate.” 58




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            Claim 16                                                Accused Instrumentalities


The device as claimed in claim   See Claim 3, with respect to same element/limitation, page 21.
2, wherein the height of said
Fin active region from the
surface of said bulk silicon
substrate lies in a range
between 10 nm and 1000 nm.




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            Claim 17                                                Accused Instrumentalities


The device as claimed in claim   See Claim 4, with respect to same element/limitation, page 22.
16, wherein the height of said
Fin active region from the
surface of said second oxide
layer is between 5 nm and 300
nm.




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            Claim 19                                               Accused Instrumentalities


The device as claimed in claim See Claim 10, with respect to same element/limitation, page 31.
9, wherein the material for said
selective epitaxial layer is
selected from the group
consisting of a single crystalline
silicon, single crystalline SiGe,
single crystalline Ge, poly-
silicon, and poly SiGe.




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1
  Samsung-GlobalFoundries 14nm Collaboration, GLOBALFOUNDRIES (Apr. 2014), http://globalfoundries.com/docs/default-source/PDF/
samsung-globalfoundries-14nm-collaboration---final.pdf.
2
  Exynos 8 Octa (8890), SAMSUNG, http://www.samsung.com/semiconductor/minisite/Exynos/w/solution/mod_ap/8890/ (last visited Sep. 16,
2016).
3
     Kelvin Low, Not all FinFETs Are Created Equal, SAMSUNG (Apr. 17, 2014), http://www.samsung.com/semiconductor/insights/article/20683/.
4
 Samsung Announces Mass Production of 2nd Generation 14-Nanometer FinFET Logic Process Technology, SAMSUNG (Jan. 14, 2016),
http://www.samsung.com/semiconductor/about-us/news/24581/.
5
     Id.
6
     Id.
7
     Id.
8
     Id.
9
     Low, supra note 3.
10
   Exynos 7 Octa (7870), SAMSUNG, http://www.samsung.com/semiconductor/minisite/Exynos/w/solution/mod_ap/7870/ (last visited Sep. 16,
2016); Samsung Mass Produces 14-Nanometer Exynos Processor with Full Connectivity Integration, SAMSUNG (Aug. 30, 2016), https://news
.samsung.com/global/samsung-mass-produces-14-nanometer-exynos-processor-with-full-connectivity-integration (“Exynos 7570, with four
Cortex-A53 cores in 14nm, delivers 70 percent improvements in CPU performance and 30 percent improvement in power efficiency when
compared to its predecessor built on 28nm.”).
11
     TECHINSIGHTS, 14 NM NODE SAMSUNG EXYNOS 7 7420 SOC (2016) at 28.
12
     Id. at xv; see generally id. at xvi-xviii.
13
     Id. at 17.
14
   Low, supra note 3; Exynos 7 Octa (7420), SAMSUNG, http://www.samsung.com/semiconductor/minisite/Exynos/w/solution/mobile_ap/7420/
(last visited Sep. 8, 2016).
15
   TECHINSIGHTS, supra note 11, at xv (“Samsung’s Exynos 7420 SoC [is] fabricated using Samsung’s first generation bulk finFET technology at
a 14 nm lithographic node.”); see also TECHINSIGHTS at xvii (“Lightly doped bulk P-type silicon (Si) substrate.”), 17 (“The device features a
lightly doped p-type bulk silicon substrate having a <110> channel orientation, hafnium oxide/silicon oxide gate dielectric, dual band edge work
function metal gates, tungsten contacts and metal 0, 10 levels of copper metallization, aluminum top metal (metal 11) redistribution layer and
carbon-doped low-k dielectric (SiOC) inter-level dielectrics.”), 19 (“The Samsung Exynos 7420 application processor is fabricated using a lightly
doped bulk P-type monocrystalline Si substrate.”).


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16
     Exynos 7 Octa (7420).
17
     TECHINSIGHTS at 71.
18
   Id. at xv; see also id. at 51 (“Three dimensional finFET with silicon fin, replacement metal gate (RMG) process and high-k dielectric are used
for NMOS transistors.”), 23 (“The Samsung Exynos 7420 uses shallow trench isolation (STI) to provide isolation between the fin structures
(devices) on the die and the trenches are filled with a single oxide (SiO2). The Exynos 7420 adopts a two-step etch process to define the fins (1st
shallower etch) and a second etch to define deeper STI trenches. The deeper isolation trenches are likely self-aligned to the sidewall edges of the
adjacent finFET devices. Parasitic conduction path between finFET devices can be lowered by adoption of deeper STI since electrical isolation
between devices is improved using this kind of deep isolation trenches. Pad oxide/nitride mask layers are likely used to pattern the trenches into
the substrate, as is typical of most STI processes. A patterning of the fins likely uses a spacer-based double patterning. After completion of
deeper STI formation, the trenches are filled with oxide (SiO2) and CMP planarized. The STI oxide fill is then etched back to expose the fins.”).
19
     Id. at 19.
20
   Strong 14nm FinFET Logic Process and Design Infrastructure for Advanced Mobile SOC Applications, SAMSUNG (2013), http://www.samsung
.com/us/samsungsemiconductor/pdfs/14nm-Foundry-032013.pdf.
21
     TECHINSIGHTS at 23-24, 88.
22
  Id. at 25-26 (“An additional etch process was likely used to form the top portions of the fins which are thinner with respect to the lower fin
portions. This may have been achieved by oxidizing the fins, then stripping off the oxides to create the fins with narrower upper portions.”).
23
     Exynos 7 Octa (7420).
24
     TECHINSIGHTS at 71, 30 (respectively).
25
   Id. at 23 (“The Exynos 7420 adopts a two-step etch process to define the fins (1st shallower etch) and a second etch to define deeper STI
trenches. The deeper isolation trenches are likely self-aligned to the sidewall edges of the adjacent finFET devices. Parasitic conduction path
between finFET devices can be lowered by adoption of deeper STI since electrical isolation between devices is improved using this kind of deep
isolation trenches. Pad oxide/nitride mask layers are likely used to pattern the trenches into the substrate, as is typical of most STI processes. A
patterning of the fins likely uses a spacer-based double patterning.”); see also id. at xvii (“1st shallow trench isolation (STI) used to define fin and
additional deeper STI to provide better isolation between finFET devices. Single oxide (SiO2) is filled in defined STI and CMP planarization.
Recess etch to expose sidewall of fin and form lateral shallow trench isolation, STI.”).
26
   Id. at 40; see also id. at 17 (“The Samsung Exynos 7420 application processor . . . features a lightly doped p-type bulk silicon substrate having a
<110> channel orientation, hafnium oxide/silicon oxide gate dielectric, dual band edge work function metal gates, tungsten contacts and metal 0,
10 levels of copper metallization, aluminum top metal (metal 11) redistribution layer and carbon-doped low-k dielectric (SiOC) inter-level
dielectrics.”).
27
     Samsung-GlobalFoundries 14nm Collaboration.


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28
     TECHINSIGHTS at 30, 69.
29
   Id. at 51; see also id. at 90 (“The I/O transistors of the Exynos 7420 share all the same processes and structures as their transistors in the logic
region. In order to operate at a higher voltage, the I/O transistor employs a thicker silicon gate oxide (SiO2) while using the same high-k dielectric
thickness as logic and larger gate length.”), 241 (“High-k last HfO/SiO2 gate dielectric stack and dual gate oxide process between standard logic
transistor, SRAM, and I/O transistor including other higher Vth transistors.”).
30
  Id. at 40; see also id. at 241 (“High-k last HfO/SiO2 gate dielectric stack and dual gate oxide process between standard logic transistor, SRAM,
and I/O transistor including other higher Vth transistors.”).
31
     Id. at 40, 50.
32
   Id. at xv (“PMOS metal gate stacks consist of AlTiN work function adjustment layer, AlTiC, metal oxide (likely AlTiO), TiN capping layer and
W gate filling metal. W is not filled in the narrow space of gate trenches in standard logic PMOS transistors including SRAM PMOS pull-up
transistors. AlTiN PMOS work function layer is likely removed from NMOS transistors prior to depositing NMOS work function adjustment
layer (AlTiC). NMOS metal gate stacks start with remnant AlTiN PMOS work function layer, AlTiC NMOS work function layer, metal oxide
(likely AlTiO), TiN capping layer and W gate filling metal.”).
33
   Id. at 40; see also id. at xv (“The finFET channel is oriented to the <110> directions with minimum gate length 27 nm for PMOS transistor and
30 nm for NMOS transistor in logic region. . . . The device features a 78 nm minimum observed contacted gate pitch, 49 nm minimum observed
fin pitch and 0.08 μm2 minimum observed 6T SRAM cell area.”).
34
     Samsung-GlobalFoundries 14nm Collaboration.
35
     TECHINSIGHTS at 28, 23 (respectively).
36
   Id. at xv (“Embedded SiGe in PMOS source/drain regions apply compressive strain to transistor P-channel to increase holes mobility and
improve transistor performance.”); see also id. at 40 (“Strain silicon techniques for stressing the transistor channels are employed including SEG
(selective epitaxial growth) layers in the S/Ds such as embedded SiGe (eSiGe) in PMOS and embedded Si (eSi) in NMOS.”), 100 (“The source
and drain epitaxial layers are the same as the standard logic (eSi for NMOS and eSiGe PMOS).”).
37
   Id. at 64; see also id. at 130 (“Contact to PMOS source/drain region is formed on an elevated SiGe island that is epitaxially grown in the
recessed fin. Contact to NMOS source/drain region is formed on a raised Si island formed by epitaxial growth in the fin recess.”).
38
     Exynos 7 Octa (7420).
39
     TECHINSIGHTS at xv, 44.
40
   Id. at 17; see also id. at 40 (“The Samsung Exynos 7420 application processer [sic] is fabricated using Samsung’s 1st generation finFET process
technology in which a gate is wrapped around a thin three-dimensional silicon fin. The device employs multi-layered metal gates using a gate last
process (RMG-replacement metal gate), epitaxial Si in the source/drains (S/D) of the NMOS finFETs and epitaxial silicon germanium (e-SiGe) in
the PMOS S/Ds. Dual work function metal gates are used for PMOS and NMOS finFETs. A high-k dielectric including thin interface oxide


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separates the fin from the metal gate on each of the three sides of the fin. The gate dielectric consists of ~0.8 nm interface dielectric SiO2 and ~1.2
nm high-k dielectric HfO. The I/O transistor is observed to have a thicker interface dielectric SiO2 as compared to the standard logic transistor.
The metal gates are constrained to be parallel in one direction (across the fin direction) and have a contacted gate pitch about 78 nm and minimum
gate length of 27 nm for PMOS and 30 nm for NMOS in standard logic area.”), 65 (“A stack of metal 0 (W) and contact (W) is used for contacting
to source/drain eSi regions.”).
41
     Id. at 72, 124.
42
  Id. at 40; see also id. at 241 (“High-k last HfO/SiO2 gate dielectric stack and dual gate oxide process between standard logic transistor, SRAM,
and I/O transistor including other higher Vth transistors . . . 1.2 nm/0.8 nm (HfO/SiO2) in the core logic and SRAM transistors . . . 1.2 nm/3.8 nm
(HfO/SiO2) in the higher voltage I/O transistors.”).
43
     Id. at 50.
44
     Id. at 49.
45
     Id. at 28.
46
     Id. at 49.
47
     Id. at 28.
48
   Id. at 23 (“The Samsung Exynos 7420 uses shallow trench isolation (STI) to provide isolation between the fin structures (devices) on the die
and the trenches are filled with a single oxide (SiO2). The Exynos 7420 adopts a two-step etch process to define the fins (1st shallower etch) and a
second etch to define deeper STI trenches. The deeper isolation trenches are likely self-aligned to the sidewalls edges of the adjacent finFET
devices. Parasitic conduction path between finFET devices can be lowered by adoption of deeper STI since electrical isolation between devices is
improved using this kind of deep isolation trenches.”).
49
     Id. at 119, 49 (respectively).
50
   Id. at 40; see also id. at xvii (“Pattern and expose NMOS S/D; etch to form silicon cavity; Si selective epitaxial growth (likely in-situ doped).
Pattern and expose PMOS S/D; etch to form silicon cavity; SiGe selective epitaxial growth (likely in-situ doped), graded Ge concentration from
top to bottom.”).
51
     Id. at 64, 72, 47 (respectively).
52
   Id. at 40; see also id. at 130 (“Contact to NMOS source/drain region is formed on a raised Si island formed by epitaxial growth in the fin
recess.”), 47 (“Epitaxially formed e-Si regions are used in the NMOS source/drain regions.”), 100 (“The source and drain epitaxial layers are the
same as the standard logic (eSi for NMOS and eSiGe PMOS).”), 64 (“Source/drain regions of NMOS finFETs are anisotropically etched to form
recess in the fin and embedded Si (eSi) is formed by selective epitaxial growth. The shape of eSi is more rounded compared to the diamond
shaped eSiGe in PMOS source/drain regions.”).
53
     Id. at 40.

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54
   Id. at 28; see also id. at 23 (“The fin thickness and fin pitches observed from both NMOS and PMOS device are likely uniform. Exposed fins
are likely rounded and thinned. Rounding the fins improves transistor performance by reducing the probability of TDDB (time dependent
dielectric breakdown) due to sharp corners and increased electric fields. Thinned fin might provide better electrostatic control from the metal
gate.”).
55
     Id. at 28, 30.
56
     Id. at 26.
57
     Id. at 27.
58
     Id. at 23.




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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that the foregoing Disclosure of Asserted Claims and

  Infringement Contentions by Kaist IP US LLC, including Appendix 1, was served on March 13,

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